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                                United States District Court
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION

   EDWARD BUTOWSKY,                                  §
                                                     §
                   Plaintiff,                        §
                                                     §
   v.                                                §   CASE NO. 4:19-CV-00180-ALM-KPJ
                                                     §
   MICHAEL GOTTLIEB, et al.,                         §
                                                     §
                   Defendants.

                                        ORDER OF DISMISSAL

  The following motions are pending before the Court:

        1. Plaintiff and Defendants Michael Gottlieb, Meryl Governski, and Bois Schiller Flexner
           LLP (collectively, “Law Firm Defendants”) Notice of Dismissal (the “Notice”) (Dkt.
           #274); and

        2. Plaintiff Edward Butowsky (“Plaintiff”) and Defendants Cable News Network, Inc.
           (erroneously sued as “Turner Broadcasting System, Inc.”) and The New York Times
           Company’s (collectively, “Media Defendants”) Amended Motion to Dismiss With
           Prejudice (the “Motion”) (Dkt. #275).

           In the Notice (Dkt. #274), the parties represent that Plaintiff’s claims against Law Firm

  Defendants are dismissed with prejudice and that all parties shall bear their own costs, expenses,

  and attorneys’ fees. See Dkt. #274.

           Federal Rule of Civil Procedure 41(a)(1) provides that a plaintiff may voluntarily dismiss

  an action without court order in one of two ways: (1) a plaintiff may dismiss an action under Rule

  41(a)(1)(A)(i) by filing “a notice of dismissal before the opposing party serves either an answer or

  a motion for summary judgment.” FED. R. CIV. P. 41(a)(1); or (2) a plaintiff may dismiss an action

  under Rule 41(a)(1)(A)(ii) by filing “a stipulation of dismissal signed by all parties who have

  appeared.” Id. As such, formal court action is not necessary in this case. However, the Court finds
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  that in the interest of efficiency, justice, and maintaining the clarity of the record, an entry of order

  of dismissal is appropriate.

          In the Motion (Dkt. #275), the parties request dismissal of Plaintiff’s claims against Media

  Defendants with prejudice, with each party bearing its own costs and fees in this action. See Dkt.

  #275. Upon consideration, the Motion (Dkt. #275) is hereby GRANTED and the previously filed

  Motion for Dismissal with Prejudice (Dkt. #273) is DENIED AS MOOT.

          Accordingly, it is hereby ORDERED, ADJUDGED, AND DECREED that this entire

  action, and all of the claims asserted therein, be DISMISSED WITH PREJUDICE. Each party

. shall bear its own costs and fees.

          All relief not previously granted is hereby DENIED, and the Clerk is directed to CLOSE

  this civil action.

          IT IS SO ORDERED.
           SIGNED this 2nd day of November, 2020.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE




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